 

 

EXHIBIT B

 

 

 

 

 

 

 

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|N THE UN|TED STATES D|STR|CT COURT
WESTERN D|STR|CT OF TEXAS
S/-\N ANTON|O D|VIS!ON

TAKODA HLAVATY, LANDON BAKER, PLA|NT|FFS
JOSE BALADEZ, DARRELL BALLENT|NE,

CHR|STOPHER BARNARD, ESTEBAN EDUARDO BARRERA,
CLINTON BASOCO, CLAYTON BEATTY, JERON|E BEECHAN|,
JANIES BENNETT, JOSEPH BESS, DAV|D BOCHAT,

JA|V|ES BOR|SK|, CHR|STOPHER BOYLE, ARTHUR BRALICK,

BART BRUNKHURST, R|Cl-IARD BURKE, M|CHAEL CAFFE‘{,

BILLY CALL, COLE CARNE‘(, GUY HENRY COLE,

SCOTT COOPER, CALV|N COPPAK, JEREN|Y CORL,

TERRELL CORM|ER, CHARLES COX, NlCHOLAS COX,

THOMAS DOVLE, CHR|STOPHER EASTER, CHAD ENGLAND,

PAUL FRANC|S, LARRY FRElTAS, RA¥ FRUM, ADRIAN GONZALEZ,
RODR|CK GREER, JOSHUA GUSEWELLE, M|CHAEL GUT[ERREZ,
ELTARA HALLMAN, W|LLIE HAN||LTON, JARED HARLOW,

ROBERT NATHAN HARR|SON, GARY HARSSON, M|CHAEL HENSLEY,
ANTHONY HENSON, JA|ME HERNANDEZ, M|CHAEL HOOKER,
DERR|CK JACKSON, ROLAND JACKSON, CHAD KAN[|NSKI,
T|MOTHY KAMINSK|, JOSHUA KERR, JAKE K|NG, PATR|CK LAQUA,
ZACHAR¥ L|NK, HUIV|BERTO LOERA, N|CHOLAS LOWN|AN,
FRANCISCO MART|NEZ, TROY MCFARLAND, M|CHAEL |V|UN|Z,
CRA|G NELSON, STEPHEN PALAC|OS, GABE PARKER,

REGINALD WASH[NGTON, JIIVIMY WEBB, AARON YOUNG,

and CHR|S TREV|NO, Each |ndividua||y and on

behalf of Al| Others Simi|arly Situated

vs. No. 5:1 6-cv-949-DAE

lNTEGRATED PRODUCT|ON SERVICES, INC. DEFENDANT

FlRST AN|ENDED AND SUBST|TUTED COMPLA|NT_COLLECT|VE ACT|ON

CO|V|E NOVV P|aintiffs Takoda H|avaty, Landon Baker, Jose Ba|adez, Darre!l
Ba||entine, Christopher Barnard, Esteban Eduardo Barrera, C|inton Basoco, C|ayton

Beatty, Jerome Beecham, James Bennett, Joseph Bess, David Bochat, James Boriski,

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Christopher Boy|e, Arthur Bralick, Bart Brunkhurst, Richard Burkel Niichae| Caffey, Bi||y
Ca||, Co|e Carney, Guy |-ienry Co|e, Scott Cooper, Calvin Coppak, Jeremy Cor|, Terre||
Cormier, Char!es Cox, Nichoias Cox, Thomas Doy|e, Christopher Easter, Chad
Eng|and, Pau| Francis, Larry Freitas, Ray Frurn, Adrian Gonzaiez, Rodrick Greer,
Joshua Gusewe[le, l\/|ichael Gutierrez, E|tara Ha||man, Wi|iie Hamiiton1 Jared Har|ow,
Robert Nathan Harrison, Gary Harsson, lV|ichae| Hensley, Anthony Henson, Jaime
Hernandez, Nlichael Hooker, Derrick Jackson, Ro|and Jackson, Chad Kaminski,
Timothy Kaminski, Joshua Kerr, Jake King, Patrick Laqua, Zachary Link, Humberto
Loera, Nicho|as Lowman, Francisco Nlartinez, Troy iV|cFarland, lV|ichae| l\/luniz, Craig
Nelson, Stephen Pa|acios, Gabe Parker, Regina|d Washington, Jimmy Webb, Aaron
Young and Chris Trevino, each individually and on behalf of all others similarly situated,
by and through their attorney Josh Sanford of Sanford Law Firm, PLLC, and for their
First Amended and Substituted Comp|aint_Col|ective Action against Defendant
integrated Production Services, lnc. (“Defendant”), and in support thereof they do
hereby state and allege as follows:
|. PREL|IVI|NARY STATEMENTS

1. The purpose of filing this First Amended and Substituted Comp|aint
(hereinafter “Comp|aint") is to clarify Plaintiffs’ claims against Defendant and to add
certain facts in support of those claims

2. This is an action brought by P|aintiffs, individually and on behalf of a||
others similarly situated, against Defendant pursuant to Section 216(b) of the FLSA.

3. The proposed Section 216 class is composed entirely of employees Who

are or Were hourly-paid oilfield Workers for Defendant, Who, during the applicable time

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period, work/worked for Defendant and are/were denied their rights under applicable
federal wage and hour |aws.1

4. The proposed Section 216 class will seek recovery of monetary damages
for overtime hours worked by Plaintiff and the putative class membersl

5. Plaintiffs, both individually and on behalf of all others similarly situated,
bring this action under the Fair Labor Standards Act, 29 US.C. § 201, et seq. (“FLSA"),
for declaratory judgmentl monetary damages, liquidated damages, prejudgment
interest, civil penalties and costs, including reasonable attorney’s fees as a result of
Defendant’s commonly applied policy and practice of failing to pay Plaintiffs and all
others similarly situated overtime compensation for all hours worked in excess of forty
hours in a single week that they were/are made to work.

6. Upon information and belief, for at least three (3) years prior to the filing of
this Complaint, Defendant has Willfully and intentionally committed violations of the
FLSA as described, infra.

7. Plaintiffs file herewith their own written Consents to Join this lawsuit
pursuant to Section 216 ofthe FLSA.

ll. THE PART|ES

8. Plaintiff Takoda H|avaty is a resident and citizen of Brazorio County1
Texas. He was employed by Defendant to work in oilfieids in Texas.

9. At all times relevant hereto P|aintiff H|avaty paid an hourly rate plus
bonuses for his work for Defendantl

10. Plaintiff Hlavaty’s dates of employment for Defendant are as follows: from

 

1 Guiliermo Tamez et al v. integrated Produciion Services, inc., 5:16-cv-55-RP (W.D. Tex.
Jan. 20, 2016) covers misc|assified salaried Equipment Operators and Field Supervisors employed by
Defendant The present action is exclusive Of those claims and only covers hourly~paid oilfield workersl
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subject matter jurisdiction over this suit under the provisions of 28 U.S.C. § 1331
because this suit raises federal questions under the FLSA.

211. The acts complained of herein were committed and had their principal
effect against the named P|aintiffs herein Within the San Antonio Division of the Western
District of Texas; therefore, venue is proper within this District pursuant to 28 U.S.C. §
1391.

lV. REPRESENTAT|VE ACT|ON ALLEGAT[ONS

212. Plaintiffs bring this claim for relief for violation of the FLSA as a collective
action pursuant to Section 16(b) of the FL.SA, 29 U.S.C. § 216(b), on behalf of all
persons similarly situated as hourly-paid oilfield workers who were or are denied
payment for ali hours Worked over forty per week and/or whose overtime pay is or was
not calculated in compliance with the requirements of the FLS/-\ within the applicable
statute of limitations period.

213. Piaintiffs assert violations of the FLSA on behalf of all persons who were
employed by Defendant as hourly-paid oilfield workers, some of whom also received
non-discretionary bonuses, from three years prior to the date of the filing of this lawsuit,
through the time of the trial of this case.

214. Piaintiffs are unable to state the exact number of the class but believe that
the class membership exceeds fifty persons but is less than 250 persons. Defendant
can readily identify the members of the ciasses, who are a certain portion of the current
and former employees of Defendant.

215. The proposed FLSA class members are similarly situated in that they have

been subject to uniform practices by Defendant which violated the FLSA, including:

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A. Defendant’s uniform policies and practices that resulted in the requirement
that P|aintiffs and class members perform off-the-ciock Work for Defendant;

B. Defendant’s failure to pay Plaintiffs and members of the class overtime
compensation for ali hours worked over forty per week in violation of the FLSA, 29
U.S.C. § 201 et seq.; and

C. Defendant’s failure to properly calculate overtime pay for Piaintiffs and the
members of the ciass.

216. Because other hourly-paid oilfield workers are similarly situated to
Piaintiffs, and are owed overtime for the same reasons, at least one proper definition of
the class is as follows:

Each individual employed as an hourly-paid oiif_ie|d worker for

Defendant at any time within the three years preceding the filing of

Plaintiffs' Originai Compiaint.

217. This action is properly brought as a class action pursuant to the collective
action procedures of the FLSA.

218. The Ciass is so numerous that joinder of all members is impracticai.
Whi|e the exact number and identities of Ciass members are unknown at this time, and
can only be ascertained through appropriate discovery, Plaintiffs believe that at least
fifty putative class members have worked for Defendant without appropriate pay, as
described herein, throughout the applicable statutory period.

V. FACTUAL ALLEGAT|ONS

219. Piaintiffs repeat and re-ailege ali previous paragraphs of this Compiaint as

though fully incorporated herein.

220_ Plaintiffs worked as hourly~paid oilfield workers for Defendant within the

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three years preceding the filing of the Originai Compiaint.

221. Plaintiffs’ duties as hourly-paid oilfield workers included performing
manual labor at oil Weli and gas weil sites to assist in pumping and fracking the wells.
These duties included loading1 unioading, transporting, assembling, operating and/or
repairing oilfield equipment

222. iVlembers of the class performed similar duties.

223. Defendant’s annual gross volume of sales made or business done was not
less than $500,000.00 (exciusive of excise taxes at the retail level that are separately
stated) during each of the four calendar years preceding the filing of the Originai
Compiaint.

224. To perform theirjob duties, at least two employees of Defendant routinely
used hard hats, drilling equipment, pump equipment, iubricators, blow-out preventers,
and various hand-tools, at least some of which had been moved in or produced for
interstate commerce.

225. Throughout the time relevant to this compiaint, Defendant has been an
enterprise engaged in interstate commerce as defined by the FLSA.

226. Defendant paid Plaintiffs, and all other hourly-paid oilfield workers during
Plaintiffs’ tenure, an hourly wage. lViost Plaintiffs and hourly-paid oilfield workers also
received non-discretionary bonuses.

227. Plaintiffs regularly worked more than 40 hours per week as hourly-paid
oilfield workers.

228. Houriy-paid oilfield workers other than Plaintiffs also regularly worked

more than 40 hours per week.

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229. Plaintiffs and other hourly-paid oilfield workers regularly performed work
for Defendant for which they were not compensated, including but not limited to taking
work-related phone calls for Defendant

230. Plaintiffs and other hourly-paid oilfield workers performed the
uncompensated work described above in most weeks that they worked for Defendantl
including weeks during which they also worked at least forty hours for which they were
compensated

231. The uncompensated work described above was significant, and it would
not be uncommon for Plaintiffs and other hourly-paid oilfield workers to perform more
than one hour per Week of such uncompensated Work.

232. Upon information and belief, Defendant had actual knowledge that
Plaintiffs and other hourly-paid oilfield workers performed the work described above and
that Plaintiffs and other hourly-paid oilfield workers were not compensated for their
work; alternativeiy, Defendant had actual knowledge that its policies and practices
would inevitably result in the performance of the uncompensated work described above.

233. The bonuses Defendant paid to Plaintiffs and other hourly-paid oilfield
workers were promised by Defendant in advance and were based on specific criteria
and/or performance goals set by Defendant in advance.

234. VVhen calculating overtime pay for Plaintiffs and other hourly-paid oilfield
workers, Defendant failed to include the non-discretionary bonuses it paid to Plaintiffs in
those calculations

235. Upon information and belief, Defendant knew, or showed reckless

disregard for whether, its pay practices toward Plaintiffs and other hourly-paid oilfield

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X. PRAYER FOR RELlEF

VVHEREFORE, premises considered, Plaintiffs Landon Baker, Jose Baiadez,
Darreii Baiientine, Christopher Barnard, Esteban Eduardo Barrera, Clinton Basoco,
Ciayton Beatty, Jerome Beecham, James Bennett, Joseph Bess, David Bochat, James
Boriski, Christopher Boyie, Arthur Bralicl<, Bart Brunkhurst, Richard Burke, lVlichaei
Caffey, Biiiy Call, Coie Carney, Guy Henry Cole, Scott Cooper, Caivin Coppak, Jeremy
Coril Terreii Cormier, Charies Cox, Nichoias Cox, Thomas Doyie, Christopher Easter,
Chad England1 Paui Francis, Larry i:reitas1 Ray Frum, Adrian Gonzaiez1 Rodrick Greer,
Joshua Guseweiiel lViichaei Gutierrez, Eitara Haiiman, VViiiie Hamiiton, Jared Hariow,
Robert Nathan Harrison, Gary Harsson, Niichael Hensiey, Anthony Henson, Jalme
Hernandez, Niichaei Hooker, Derrick Jackson, Roiand Jackson, Chad Kaminskl1
Tirnothy Kaminski, Joshua Kerr, Jake King, Patrick Laqua, Zachary Link, Humberto
Loera, Nichoias Lowman, Francisco iViartinez, `i'roy iVicFariand, i\fiichaei i\iiuniz1 Craig
Neison, Stephen i:‘aiacios1 Gabe Parker, Reginaid Washington, Jimmy V\.iebb7 Aaron
Young and Chris Trevino, each individually and on behalf of ali others similarly situated1
respectfully pray for declaratory relief and damages as follows:

(a) That Defendant be summoned to appear and answer herein;

(b) That Defendant be required to account to Plaintiffs, the class members
and the Court for all of the hours worked by Plaintiffs and the class members and ali
monies paid to them;

(c) A declaratory judgment that Defendant’s practices alleged herein violate
the Fair Labor Standards Act, 29 U.S.C. §201, et seq., and attendant regulations at 29

C.F.R. § 516 et seq.,'

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(d) Certification of, and proper notice to, together With an opportunity to
participate in the iitigation, all qualifying current and former employees;

(e) Judgment for damages for ali unpaid overtime compensation under the
Fair Labor Standards Act, 29 U.S.C. §2011 et seq., and attendant regulations at 29
C.F.R. §516 etseq.,'

(f) Judgment for liquidated damages pursuant to the Fair Labor Standards
Act, 29 US.C. §201, et seq., and attendant regulations at 29 C.F.R. §516 etseq., in an
amount equal to all unpaid overtime compensation owed to Plaintiffs and members of
the Class during the applicable statutory period;

(g) An order directing Defendant to pay Plaintiffs and members of the Ciass
prejudgment interestl reasonable attorney’s fees and ali costs connected with this
action; and

(h) Such other and further relief as this Court may deem necessary, just and
proper.

Respectfuily submitted,

TAKODA HLAVATY, LANDON BAKER,

JOSE BALADEZ, DARRELL BALLENT|NE,

CHR|STOPHER BARNARD, ESTEBAN
EDUARDO BARRERA, CL|NTON
BASOCO, CLAYTON BEATTY, JEROIV|E
BEECHA|V[, JAl\llES BENNETT, JOSEPH

BESS, DAV|D BOCHAT, JAIV|ES BORISK|,

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COLE, SCOTT COOPER, CALVlN
COPPAK, JEREN[Y CORL, TERRELL
CORM|ER, CHARLES COX, NlCHOLAS
COX, THONIAS DOYLE, CHR|STOPHER
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By:

CiS, LARRY FREITAS, RAY FRUiili,
ADR|AN GONZALEZ, RODR|CK GREER,
JOSHUA GUSEWELLE, M|CHAEL
GUT|ERREZ, ELTARA HALLNIAN, WiLLiE
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NATHAN HARR|SON, GARY HARSSON,
M|CHAEL HENSLEY, ANTHONY HENSON,
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DERR|CK JACKSON, ROLAND JACKSON,
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REGINALD WASHINGTON, J|NiiiliY WEBB,
AARON YOUNG and CHR|S TREV|NO,
Each individually and on behalf of Al|
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CERT|FICATE OF SERV|CE

i, Josh Sanfordl do hereby certify that a true and correct copy of the Ai\/iENDED
CON|PLA[NT has been electronically filed with the Cierk for the U.S. District Court,
Western District of Texas, San Antonio Division, using the Eiectronic Case Fiiing system
of the Court, and that the attorneys listed below are registered to receive from the Cierk
of the Court an electronic copy thereof:

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Lawrence D. Smith, Esq.

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